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8                           UNITED STATES DISTRICT COURT FOR THE
9                               NORTHERN DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION
11   UNITED STATES OF AMERICA,                         )
                                                       )        Criminal No. CR-06-0148-MJJ
12                 Plaintiff,                          )
                                                       )
13          v.                                         )
                                                       )        ORDER
14   BRIAN TROY ABERLE and                             )
     JENNIFER LYNN ABERLE,                             )
15                                                     )
                   Defendants.                         )
16                                                     )
17          For good cause shown, it is hereby ordered that the Clerk issue a new Summons In A
18   Criminal Case summoning defendant Jennifer Lynn Aberle to appear before Magistrate Judge
19   Wayne D. Brazil at United States District Court, 1301 Clay Street, Oakland, California,
                                                                        ISTRIC
20   Courtroom 4, on June 2, 2006, at 10:00 a.m.
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24                                                                                   Brazil
                                                                             ayne D.
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25   Dated: May 4, 2006
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                                                       WAYNE D. BRZAIL
28                                                     United States Magistration Judge
